Exhibit A
                                     The State of Texas




Elections Division                                                                    Phone: 512-463-5650
P.O. Box 12060                                                                          Fax: 512-475-2811
Austin, Texas 78711-2060                                                     Dial 7-1-1 For Relay Services
www.sos.state.tx.us                                                                (800) 252-VOTE (8683)
                                          David Whitley
                                         Secretary of State

                                      ELECTION ADVISORY
                                          NO. 2019-XX


TO:               Voter Registrars/Elections Administrators

FROM:             Keith Ingram, Director of Elections

DATE:             March __, 2019

RE:               Court orders in pending litigation involving non-citizen list maintenance process


We are writing to advise you of developments on the recently initiated non-citizen list maintenance
process. As you know, lawsuits challenging this process were filed in federal courts in San
Antonio, Corpus Christi, and Galveston over the last month. These lawsuits were recently
consolidated into one case before Judge Fred Biery in the Western District of Texas, San Antonio
Division.

On February 27 and February 28, the district court entered the attached preliminary orders. The
district court                                                                            -American
                                       the district court acknowledged that the non-citizen list
maintenance process was performed in good faith to carry out statutory list maintenance duties. At
the same time, counties should pause their efforts on this list maintenance process as they continue
to review the now-refined data generated from the DPS database.

In this case, and in previous cases involving voter roll maintenance, the Secretary of State has
maintained that he lacks the power to order counties to update their voter rolls. However, pursuant
to the                  February 27 order, the Secretary of State advises all co          not to send
any notice of examination letters nor remove voters from registration without prior approval of the
Court with a conclusive showing that the person is ineligible to vote I am alerting you that the
district court ordered that, in relation to the list at issue in Election Advisory No. 2019-02, local
officials are      to remove any person from the current voter registration list until authorized by
this Court. These provisions                                      do not prohibit the removal of any
person based upon information independent of Advisory 2019-02, such as death, relocation or
felony conviction, or the removal of any persons who are excused or disqualified from jury
service because of non-citizen status or persons who request to be removed from the rolls because
of their lack of citizenship.

Additionally, to the extent that the Secretary of State provides subsequent lists of potential non-
citizen matches on a monthly basis, this office                                     send notice of
examination letters nor remove voters from registration without prior approval of the Court, as
                                                                                                 of
any person based upon information independent of Advisory 2019-02, such as death, relocation or
felony conviction, or the removal of any persons who are excused or disqualified from jury
service because of non-citizen status or persons who request to be removed from the rolls because
of their lack of citizenship.

Please also note that the district                               officials to continue to find out if in
fact someone is registered who is not a citizen, so long as it is done without communicating directly
with any particular individual on the list. Pursu                                     f voters

individuals.

As we learn more, we will update you.
